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                    Exhibit D
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       US6661783                                        ChargePoint Gateway (the “Accused Product”)
3. A spreading code        The Accused Product, at least in internal testing and usage, practices selecting as the spreading code
selection method, which    (e.g., OVSF code as channelization code) for asymmetric communications, a hierarchic orthogonal type
selects as the spreading   spreading code (e.g., hierarchical OVSF codes) which is a spreading code of a hierarchy which contains
code for asymmetric        spreading codes of a longer length than spreading codes used for symmetric communication lines and is
communications, a          orthogonal to spreading codes used for other asymmetric communication lines.
hierarchic orthogonal
type spreading code        As shown below, different users in UMTS-FDD use different spreading codes which are mutually
which is a spreading       orthogonal and therefore spreading codes for asymmetric communication line between a user and a base
code of a hierarchy        station and that of another user and the base station respectively happen to be orthogonal. The accused
which contains             product is equipped with 3G (also referred to as UMTS). 3G/UMTS has UMTS-FDD as one of its
spreading codes of a       variants.
longer length than
spreading codes used for
symmetric
communication lines and
is orthogonal to
spreading codes used for
other asymmetric
communication lines.
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https://www.chargepoint.com/files/datasheets/ds-cpgw.pdf
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https://www.chargepoint.com/files/datasheets/ds-cpgw.pdf




https://www.3gpp.org/technologies/keywords-acronyms/103-umts
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https://www.3gpp.org/technologies/keywords-acronyms/103-umts
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https://www.electronics-notes.com/articles/connectivity/3g-umts/frequency-bands-channels-uarfcn.php
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https://www.electronics-notes.com/articles/connectivity/3g-umts/what-is-umts-wcdma-tutorial.php
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https://www.electronics-notes.com/articles/connectivity/3g-umts/what-is-umts-wcdma-tutorial.php
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https://www.umtsworld.com/technology/codes.htm
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 https://www.etsi.org/deliver/etsi_ts/125200_125299/125213/06.00.00_60/ts_125213v060000p.pdf
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 The spreading code for the downlink of asymmetric communications and said longer spreading code is
 orthogonal to spreading codes used for other asymmetric communication lines (e.g., Orthogonal Variable
 Spreading Factor (OVSF) codes). In the FDD (Frequency Division Duplex) mode the spreading factors
 (e.g., spreading code length) are from 256 to 2 for uplink and from 512 to 4 for downlink.




 https://www.umtsworld.com/technology/wcdma.htm
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                         https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf


4. A CDMA mobile         The accused product practices a CDMA mobile communication method (e.g., WCDMA) for asymmetric
communication method,    communication.
when performing
asymmetric               The accused product utilizes UMTS-FDD technology using WCDMA technology.
communications,
comprising:
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 https://www.chargepoint.com/files/datasheets/ds-cpgw.pdf
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 https://www.chargepoint.com/files/datasheets/ds-cpgw.pdf




 https://www.3gpp.org/technologies/keywords-acronyms/103-umts
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 https://www.umtsworld.com/technology/wcdma.htm
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 https://www.electronics-notes.com/articles/connectivity/3g-umts/what-is-umts-wcdma-tutorial.php
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 https://www.electronics-notes.com/articles/connectivity/3g-umts/what-is-umts-wcdma-tutorial.php
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 https://www.electronics-notes.com/articles/connectivity/3g-umts/network-architecture.php
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 https://www.electronics-notes.com/articles/connectivity/3g-umts/network-architecture.php
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 http://www.rfwireless-world.com/Tutorials/UMTS-Network-Architecture.html

 As shown below, in the case of UMTS-FDD based communication, spreading factors range from 256 to
 2 in the uplink direction and 512 to 4 in the downlink direction, thereby providing different symbols
 rates per second for uplink and downlink respectively.




 https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf
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                             https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf

a base station apparatus     The accused product, at least in internal testing and usage, utilizes a base station (e.g., NodeB). The base
spreading known              station (e.g., NodeB) practices spreading known reference signals (e.g., RSCP signals) and transmission
reference signals and        power control bits (e.g, bits of TPC_cmd) by spreading codes with a length that is longer than spreading
transmission power           codes used for symmetric communications, and transmitting spreaded known reference signals (e.g.,
control bits by spreading    RSCP signals) and a spreaded transmission power control bits (e.g., bits of TPC_cmd) at a lower
codes with a length that     transmission rate than a transmission rate when symmetric communications are performed.
is longer than spreading
codes used for
symmetric
communications, and
transmitting spreaded
known reference signals
and a spreaded
transmission power
control bits at a lower
transmission rate than a
transmission rate when
symmetric
communications are
performed;                   http://www.rfwireless-world.com/Tutorials/UMTS-Network-Architecture.html

                             For symmetric communication, the data rate (and its corresponding associated spreading factor) of the
                             uplink and downlink are the same. They therefore have the same spreading factor whereas in case of
                             asymmetric communication there is a difference in the uplink and downlink data rates (and its
                             corresponding associated spreading factor) which will thereby process a higher spreading factor for
                             downlink communication.
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 Higher the spreading code for downlink communication lower the data rate (e.g., code length or spreading
 factor of 4 gives data rate of 960 Kbits/sec whereas code length or spreading factor of 512 gives 7.5
 Kbits/sec) therefore asymmetric communications, transmits known reference signals (e.g., RS signal) and
 transmission power control bits (e.g., TPC bits) at a lower transmission rate than a transmission rate when
 symmetric communications are performed.




 https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf




 https://www.etsi.org/deliver/etsi_ts/125200_125299/125215/06.03.00_60/ts_125215v060300p.pdf
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 https://www.etsi.org/deliver/etsi_ts/125100_125199/125133/06.04.00_60/ts_125133v060400p.pdf
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 https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf




 https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf
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 . https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf
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 https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf

 The spreading code for the downlink of asymmetric communications and said longer spreading code is
 orthogonal to spreading codes used for other asymmetric communication lines (e.g., Orthogonal Variable
 Spreading Factor (OVSF) codes). In the FDD (Frequency Division Duplex) mode the spreading factors
 (e.g., spreading code length) are from 256 to 2 for uplink and from 512 to 4 for downlink.
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 https://www.umtsworld.com/technology/wcdma.htm
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                            https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf

a mobile station            The accused product practices receiving said transmission power control bits (e.g., bits of TPC_cmd).
apparatus receiving said
transmission power
control bits; and




                            https://www.etsi.org/deliver/etsi_TS/125200_125299/125201/07.03.00_60/ts_125201v070300p.pdf
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                         https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf

said mobile station      The accused product practices determining transmission power based on said transmission power control
apparatus determining    bits (e.g., bits of TPC_cmd).
transmission power
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based on said
transmission power
control bits.




                      . https://www.etsi.org/deliver/etsi_ts/125200_125299/125214/06.11.00_60/ts_125214v061100p.pdf
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